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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                                                                         03/16/2025
                                                  Central District
                                                __________         of of
                                                            District  California
                                                                         __________
                                                                                                                   AP
                  United States of America                       )
                             v.                                  )
                                                                 )       Case No.   5:25-mj-00134
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                                              in the county of                                in the
                       District of                           , the defendant(s) violated:

            Code Section                                                   Offense Description




         This criminal complaint is based on these facts:




             Continued on the attached sheet.

                                                                                              /S/
                                                                                            Complainant’s signature


                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:                           at 10:35 a.m.
                                                                                               Judge’s signature

City and state:
                                                                                             Printed name and title
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                                AFFIDAVIT

     I, Border Patrol Agent, Alison Delgardo, being duly sworn,

declare and state as follows:

                        I. PURPOSE OF AFFIDAVIT

           This affidavit is made in support of a criminal

complaint against Ignacio Rangel-Barajas (“RANGEL-BARAJAS”)

charging him with violating 18 U.S.C. § 922(a)(1)(A): Dealing,

Importing or Manufacturing Without License.

           This affidavit is also made in support of an

application for a warrant to search a digital device (the

“SUBJECT DEVICE”) found in RANGEL-BARAJAS’s car and is currently

in the custody of United States Border Patrol, in Indio,

California, as described more fully in Attachment A: a Samsung,

A10s Smart Phone, Black, SN: R9WMB0PBY0J.
           The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of 18

U.S.C. § 922(a)(1)(A): Dealing, Importing or Manufacturing

Without License and 18 U.S.C. § 922(a)(3): Transporting or

Receiving in State of Residence (the “Subject Offenses”), as

described more fully in Attachment B.         Attachments A and B are

incorporated herein by reference.

           The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.   This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint, arrest

warrant, and search warrant, and does not purport to set forth
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all of my knowledge of or investigation into this matter.

Unless specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                        II. BACKGROUND OF AFFIANT

           I am a United States Supervisory Border Patrol Agent

with the Department of Homeland Security, Customs and Border

Protection, United States Border Patrol (“USBP”).            I have been

employed as a full-time, sworn federal agent with the USBP since

April 11, 2016.    I graduated from the USBP Basic Border Patrol

Training Academy located in Artesia, New Mexico and I am a

Federal Law Enforcement Officer within the meaning of Rule

41(a)(2)(C) of the Federal Rules of Criminal Procedure.              I am

authorized by Rule 41(a) of the Federal Rules of Criminal

Procedure to make applications for search and seizure warrants

and serve arrest warrants.      I have experience in and have

received training with respect to conducting investigations of

violations of Titles 8, 18, 19, and 21 of the United States

Code.   More specifically, in my experience in law enforcement, I

have participated in numerous investigations involving

immigration offenses, drug offenses, and firearm offenses.

                  III. STATEMENT OF PROBABLE CAUSE

           Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:




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     A.    Border Patrol Agents Initiate Traffic Stop on RANGEL-
           BARAJAS’s Car

           On or about March 14, 2025, Border Patrol Agents from

the Indio Station assigned to the Disrupt Team were working the

Interstate 10 corridor near Desert Center, California.             The

Disrupt Team predominantly works interstates and thoroughfares

throughout the Indio Station’s area of responsibility targeting

Transnational Criminal Organizations involved in alien and

narcotics smuggling.     The Interstate 10 corridor is a known

smuggling route from Phoenix, Arizona to Los Angeles,

California.   Border Patrol Agents Justin Kim, Robert Raymer,

Raymond Herrera, Alfred Perez and Gregory Oliver were involved

in this investigation.
           At approximately 2:00 p.m., Agents Perez and Herrera

were positioned on the median observing traffic traveling

westbound on Interstate 10, approximately five miles east of

Corn Springs Road.      Agents Perez and Herrera were in an unmarked

Border Patrol service vehicle, equipped with operating lights

and sirens.

           While positioned on the I-10, Agents Perez and Herrera

saw a 2024 Subaru WRX with California license plates (“the

Subaru”), pass their location traveling in the number one lane.

The driver, later identified as RANGEL-BARAJAS, appeared to be

traveling alone.    Initially RANGEL-BARAJAS was traveling with

the flow of traffic, however, once he saw the agents’ service

vehicle, he immediately hit his brakes, conducted an unnecessary

lane change forcing himself in between two cars as he moved into




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the slow lane.    Based on my prior training and experience,

erratic driving behavior is common in smuggling cases; vehicles

involved in criminal activity will make abrupt and unnecessary

lane changes.

           The Agents merged onto I-10 behind RANGEL-BARAJAS to

investigate.    RANGEL-BARAJAS then paced the Subaru behind semi-

trucks to conceal himself.      RANGEL-BARAJAS continued to conceal

himself between semi-trucks for several miles.            In my training

and experience, vehicles involved in smuggling activity will use

this driving tactic to allow law enforcement vehicles to pass

their vehicles undetected.
           RANGEL-BARAJAS then began to swerve back and forth in

his lane crossing over the fog line and the center line dividing

the two-lane highway.     Based on my prior training and

experience, when drivers are preoccupied looking in their

mirrors searching for law enforcement vehicles, they tend to not

pay attention to the road and tend to swerve.

           According to the agents, RANGEL-BARAJAS’s driving

behavior seemed strange and may have been due to his heightened

fear of law enforcement presence while knowing he was currently

involved in criminal activity.

            Agent Herrera conducted a vehicle check through El

Centro Sector radio communications and received information that

the Subaru was registered to “Ignacio Rangel Barajas” out of El

Cajon, California.      Dispatch also told Agents Perez and Herrera

that RANGEL-BARAJAS had an inbound Port-of-Entry crossing




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earlier on March 14, 2025, at 4:00 a.m. through San Ysidro,

California from Mexico.

           Agent Herrera also asked Agent Garcia to conduct a

records check on the Subaru.         Agent Garcia also found the

Subaru’s 4:00 a.m. inbound crossing and told Agent Herrera that

person who had crossed the border in the car that morning was

the registered owner, RANGEL-BARAJAS.          He also sent the agents a

photograph of RANGEL-BARAJAS crossing the San Ysidro Port of

Entry that morning.
           Agent Garcia also found RANGEL-BARAJAS’s arrest

records and told Agents Herrera and Perez that RANGEL-BARAJAS

had a prior March 2020 arrest for alien smuggling, a prior

January 2025 arrest for attempting to smuggle twelve firearms at

the San Ysidro Port of Entry, and he had Department of Homeland

Security alerts for possible transportation of firearms.

           Agents Perez and Herrera pulled up alongside the

driver side of the Subaru and positively identified the driver,

RANGEL-BARAJAS, as the driver who crossed the San Ysidro,

California Point of Entry.      There were no other occupants

visible in the Subaru travelling with RANGEL-BARAJAS.

            As Agents Perez and Herrera continued to follow

RANGEL-BARAJAS, they saw him sitting in an upright, rigid and

stiff position.    Agent Herrera saw RANGEL-BARAJAS looking

forward; he never looked over at the Border Patrol vehicle.

Based on my training and experience, subjects involved in

criminal activity will avoid looking at law enforcement vehicles

while driving.



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           Agents Perez and Herrera also saw RANGEL-BARAJAS

continuously look back at the agents through his side and rear-

view mirrors and they saw RANGEL-BARAJAS once again swerve over

the fog line and back crossing over the center line dividing the

two-lane highway.

           Agents Perez and Herrera followed RANGEL-BARAJAS

westbound on Interstate 10 for approximately 60 miles.             Based on

RANGEL-BARAJAS’s border crossing, RANGEL-BARAJAS’s travel

pattern from Mexico, RANGEL-BARAJAS’s driving behavior, RANGEL-

BARAJAS’s behavior, RANGEL-BARAJAS prior arrest for firearm

smuggling, Agents Perez and Herrera stopped RANGEL-BARAJAS’s car

on I-10 near the Golf Center Parkway exit in Indio.             Agent

Garcia arrived on scene and assisted with the stop.
           Agent Perez approached the Subaru from the passenger

side and identified himself as a Border Patrol Agent.             RANGEL-

BARAJAS immediately requested to be spoken to in Spanish and

said he spoke very little English.          Agent Perez requested

RANGEL-BARAJAS’s identification or a driver's license in Spanish

and RANGEL-BARAJAS provided a California driver's license.

           Agent Perez asked RANGEL-BARAJAS if he was the owner

of the vehicle and RANGEL-BARAJAS said yes, and Agent Perez

asked RANGEL-BARAJAS if he currently lived in El Cajon and

RANGEL-BARAJAS said he lived in Spring Valley.            Agent Perez saw

a pocketknife in RANGEL-BARAJAS’s right front pocket and asked

him to leave it in the vehicle.       Agent Perez asked RANGEL-

BARAJAS if he had any other weapons on him and RANGEL-BARAJAS




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stated “no.”      RANGEL-BARAJAS exited the Subaru and walked to the

rear of the car where Agent Herrera was standing.

              Agents Perez and Herrera began questioning RANGEL-

BARAJAS.      Agent Perez asked RANGEL-BARAJAS questions like where

he was traveling from and where he worked.             RANGEL-BARAJAS said

that he does waterproofing in downtown Arizona.             When asked

about his schedule, RANGEL-BARAJAS struggled to answer and

fumbled his words.

              Agent Perez asked RANGEL-BARAJAS if he had ever been

arrested, and RANGEL-BARAJAS said he was arrested for firearms

at the Port of Entry but had never been to jail.             RANGEL-BARAJAS

mentioned that he was let go and nothing happened.             RANGEL-

BARJAS said he had an interview with a federal agent named

“Garcia.” 1    Agent Herrera asked RANGEL-BARAJAS how he got

involved with firearms and he said he was recruited.

              Agent Perez asked RANGEL-BARAJAS if there was anything

illegal in the vehicle, and RANGEL-BARAJAS said yes and that he

had firearms in the vehicle.

              Agent Herrera told RANGEL-BARAJAS he was under arrest

for being in possession of firearms.         He placed RANGEL-BARAJAS

in handcuffs and placed him inside the patrol vehicle and

Mirandized him at approximately 3:37 p.m.             Agent Herrera asked

RANGEL-BARAJAS where the firearms were located, and RANGEL-

BARAJAS replied they were inside the trunk.



     1 Agents have tried to locate the federal agent Garcia that
RANGEL-BARAJAS is referring to but have not been able to find
the agent and are not sure this person exists.


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           Agents Herrera, Garcia, and Lamadrid searched RANGEL-

BARAJAS’s car for the illegal firearms.          The Agents found two

duffle bags concealed in the spare tire compartment.             The Agents

recovered four rifles, eight handguns, sixteen magazines and a

total of 50 pistol rounds (9mm and .380 caliber) from the duffle

bags.

           RANGEL-BARAJAS said he does go to Mexico, but said he

does not travel into Mexico with the firearms, and he leaves

them in San Diego.
     B.    RANGEL-BARAJAS Admitted to Trafficking Firearms

           Based on my review of law enforcement reports and

recordings, I am aware that on March 14, 2025, at approximately

7:00 p.m. at the Indio Border Patrol Station in Indio,

California, RANGEL-BARAJAS was re-advised of his Miranda rights

in Spanish.     RANGEL-BARAJAS again stated that he understood his

rights and again agreed to answer questions without the presence

of an attorney.     RANGEL-BARAJAS also signed a Miranda form.

           In the audio-video recorded and Mirandized interview,

RANGEL-BARAJAS stated, in substance, the following:

           a.     RANGEL-BARAJAS said that he is a United States

citizen having been born in Newport Beach, California.             RANGEL-

BARAJAS said his mailing address was at an address in El Cajon,

California.     RANGEL-BARAJAS claimed he resides full time at

Calle Cucapa, Domicilio Conocido in Tijuana, Baja California,

Mexico.




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            b.    RANGEL-BARAJAS admitted he was trafficking

firearms from Phoenix, Arizona to Chula Vista, California to

supply the Sinaloa Cartel in Tijuana, Baja California, Mexico.

            c.    RANGEL-BARAJAS stated he was going to profit

approximately $1,000 dollars in U.S currency if he successfully

delivered the firearms to San Diego.

            d.    RANGEL-BARAJAS admitted to ten prior successful

illegal firearms trafficking events from San Diego to Tijuana

and to have profited over $10,000 dollars in U.S currency in

payment.

            e.    RANGEL-BARAJAS stated that on the date of his

arrest, he traveled from Tijuana, Mexico to Phoenix, Arizona to

pick up approximately ten firearms for unknown individuals

operating under the Sinaloa Cartel.

            f.    RANGEL-BARAJAS stated on March 14, 2025, he

arrived in Phoenix at approximately 11:00 a.m., where he met up

with an unknown individual driving a brown Infinity at a public,

predetermined location.

            g.    RANGEL-BARAJAS declined to provide further

details on the individual claiming concerns for his safety and

family members safety.

            h.    After receiving the firearms, RANGEL-BARAJAS said

he proceeded to San Diego via Interstate 10, while sharing his

live location with the facilitators via WhatsApp messaging

application.

            i.    RANGEL-BARAJAS stated he was recently arrested

for firearms trafficking near the San Ysidro Port of Entry and



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during that event RANGEL-BARAJAS stated that he was interviewed

by federal agents and subsequently released.

      C.    The Firearms Likely Traveled in and Affected
            Interstate Commerce

            From my discussions with law enforcement personnel and

review of reports, I know that on March 14, 2025, Bureau of

Alcohol, Tobacco, Firearms and Explosives Special Agent Paul

Kirwan -- who is trained in analyzing firearms -- examined

photographs of the twelve firearms recovered from RANGEL-

BARAJAS’s vehicle.      Agent Kirwan determined that the firearms

were manufactured outside California.          Because the firearms were

recovered in California, I believe it has traveled in and

affected interstate commerce.
            ATF personnel queried the Federal Licensing System and

RANGEL-BARAJAS has never been licensed to deal in firearms.

           IV. TRAINING AND EXPERIENCE ON FIREARMS OFFENSES

            From my training, personal experience, and the

collective experiences related to me by other law enforcement

officers who conduct who conduct firearms investigations, I am

aware of the following:

            a.    Persons who possess, purchase, or sell firearms

generally maintain records of their firearm transactions as

items of value and usually keep them in their residence, or in

places that are readily accessible, and under their physical

control, such in their digital devices.           It has been my

experience that prohibited individuals who own firearms

illegally will keep the contact information of the individual




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who is supplying firearms to prohibited individuals or other

individuals involved in criminal activities for future purchases

or referrals.     Such information is also kept on digital devices.

            b.    Many people also keep mementos of their firearms,

including digital photographs or recordings of themselves

possessing or using firearms on their digital devices.              These

photographs and recordings are often shared via social media,

text messages, and over text messaging applications.

            c.    Those who illegally possess firearms often sell
their firearms and purchase firearms.          Correspondence between

persons buying and selling firearms often occurs over phone

calls, e-mail, text message, and social media message to and

from smartphones, laptops, or other digital devices.              This

includes sending photos of the firearm between the seller and

the buyer, as well as negotiation of price.            In my experience,

individuals who engage in street sales of firearms frequently

use phone calls, e-mail, and text messages to communicate with

each other regarding firearms that the sell or offer for sale.

In addition, it is common for individuals engaging in the

unlawful sale of firearms to have photographs of firearms they

or other individuals working with them possess on their cellular

phones and other digital devices as they frequently send these

photos to each other to boast of their firearms possession

and/or to facilitate sales or transfers of firearms.

           V. TRAINING AND EXPERIENCE ON DIGITAL DEVICES

            As used herein, the term “digital device” includes the

SUBJECT DEVICE.



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            Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

            a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.              Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.         Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

            b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.              That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.           For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat



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programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

            c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.     For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

            d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.       Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.        Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.
            Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for several reasons, including

the following:

            a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.               Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.




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            b.    Digital devices capable of storing multiple

gigabytes are now commonplace.        As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

            Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

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                               VI. CONCLUSION

            For the reasons described above, there is probable

cause to believe that RANGEL-BARAJAS has committed violations of

18 U.S.C. § 922(a)(1)(A): Dealing, Importing or Manufacturing

Without License.        There is also probable cause that the items to

be seized described in Attachment B will be found in a search of

the SUBJECT DEVICE described in Attachment A.

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____
                   16thday of
March 2025.



HONORABLE SHERI PYM
UNITED STATES MAGISTRATE JUDGE




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